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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


                            ORDER ON PRETRIAL DEADLINES


Unless otherwise ordered by the presiding Judge, parties in civil cases shall adhere to
the following deadlines:

       (a) All motions relating to joinder of parties or amendment of the pleadings shall
be filed within the latest of the following: (i) 35 days after the appearance of the last
defendant or (ii) 60 days after the filing of the complaint, the filing of a petition for removal,
or the transfer of an action from another District, except that a defendant may file a third-
party complaint within 14 days of serving an answer, as permitted by Fed. R. Civ. P. 14(a).

       (b) The filing of a motion to dismiss shall not result in a stay of discovery or extend
the time for completing discovery.

       (c) Formal discovery pursuant to the Federal Rules of Civil Procedure may not
commence until the parties have conferred as required by Fed. R. Civ. P. 26(f) and Local
Civil Rule 16 but the parties may commence formal discovery immediately thereafter
without awaiting entry of a scheduling order pursuant to Fed. R. Civ. P. 16(b). Informal
discovery by agreement of the parties is encouraged and may commence at any time.
Unless otherwise ordered, discovery shall be completed within 6 months after the latest
of the following: the filing of the complaint, the filing of a petition for removal, the transfer
of an action from another District, or the appearance of the last defendant.

       (d) Unless otherwise ordered, all motions for summary judgment shall be filed
within 35 days after the deadline for completion of discovery.



                                                       By Order of the Court
                                                       Dinah Milton Kinney, Clerk
(Rev. 1.6.25)
